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VIA ECF

BOIES
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January 12, 2022

The Honorable Loretta A. Preska
District Court Judge

United States District Court
Southern District of New York
500 Pearl Street

New York, NY 10007

Re: Giuffre v. Maxwell, Case No. 15-cv-7433-LAP

Dear Judge Preska,

Plaintiff files this letter motion seeking leave to file her Brief in Response to Non-Parties
17, 53, 54, 55, 56, 73, 93 and 151’s Objections to Unsealing on the public docket with redactions.
The brief contains information that may identify certain non-parties, and, in an abundance of
caution, Plaintiff has redacted that information pending disposition of the non-party objections.
Plaintiff intends to file the redacted version of the brief publicly on ECF and seeks leave only to
file the unredacted version under seal.

SO ORDE: ep Sincerely,

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LORSTTA A. PRESKA _,
UNITED STATES DISTRICT JUDGE Sigrid S. McCawley, Esq.

cc: Counsel of Record (via ECF)

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BOIES SCHILLER FLEXNER LLP
40] East Los Ofos Boulevard, Sulte 1260, Fort Lauderdale, FL 33301 | (t} 954 356 9011 | () 954 356 0022 | www.bsfilp.com

 

 
